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                                              CASE NO. 23-1268



                              IN THE UNITED STATES COURT OF APPEALS
                                      FOR THE NINTH CIRCUIT



                                    PANOCHE ENERGY CENTER, LLC,
                                                   Petitioner,
                                                        v.
                   U.S. ENVIRONMENTAL PROTECTION AGENCY; MICHAEL REGAN,
                    Administrator of the U.S. Environmental Protection Agency, in his official
                capacity; and MARTHA GUZMAN ACEVES, Regional Administrator of the U.S.
                                  Environmental Protection Agency, Region IX
                                                  Respondents.


                 On Review from Final Permit Decision of U.S. Environmental Protection Agency
                                    UIC Permit No. R9UIC-CA1-FY17-2R


                               PANOCHE ENERGY CENTER, LLC’S
                                    REPLY IN SUPPORT OF
                           MOTION TO RECALL AND STAY THE MANDATE


                                                             K&L GATES LLP
                                                             Ankur K. Tohan, WSBA No. 36752
                                                             J. Timothy Hobbs, WSBA No. 42665
                                                             925 Fourth Avenue, Suite 2900
                                                             Seattle, WA 98104-1158
                                                             Tel: 206-623-7580
                                                             ankur.tohan@klgates.com
                                                             tim.hobbs@klgates.com

                                                         Attorneys for Petitioner Panoche
                                                         Energy Center, LLC
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               I.       INTRODUCTION

                        Panoche Energy Center, LLC (“Panoche”) seeks a stay of the Court’s mandate

               under Fed. R. App. P. 41(d)(1) to preserve its ability to petition the Supreme Court

               for certiorari. EPA acknowledges that the permit condition at issue requiring

               Panoche to construct a groundwater monitoring well on its neighbor’s property

               cannot be complied with because the neighbor declined to grant access to drill the

               well. But EPA refuses to grant an administrative stay of the permit condition. EPA

               also has not disavowed taking enforcement action while the parties negotiate an

               alternative condition. Faced with the prospect of an enforcement action and permit

               revocation for non-compliance with an impossible permit condition, EPA has left

               Panoche with no choice but to seek relief from the Court to preserve the status quo

               while Panoche exhausts its options to challenge the condition at issue.

                        Panoche and EPA are conferring about a permit modification and met twice

               in August to discuss options. EPA is presently reviewing Panoche’s proposal for an

               alternative condition. The assertions in EPA’s brief that Panoche merely seeks to

               delay are incorrect. Because compliance with the permit condition at issue is not

               possible in any event, staying the Court’s mandate will have no practical

               consequence other than to shield Panoche from an enforcement action while it

               exhausts its appellate options.




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               II.      ARGUMENT

                        A party may move to stay the mandate under Fed. R. App. P. 41(d)(1) by

               showing that a petition for certiorari would present a substantial question and that

               there is good cause for a stay. The Court’s general practice is to grant a motion for

               a stay of the mandate if the arguments presented therein are not frivolous. See Epic

               Games, Inc. v. Apple, Inc., 73 F.4th 785 (9th Cir. 2023) (M. Smith, J., in

               concurrence); United States v. Pete, 525 F.3d 844, 850 (9th Cir. 2008). Because

               both elements of Fed. R. App. P. 41(d)(1) are met here, and the filing of a petition

               for a writ of certiorari would not be frivolous or made merely for the purpose of

               delay, Panoche respectfully urges the Court to grant the motion.1

                        A.    There is Good Cause for a Stay
                        It is undisputed that compliance with the permit condition that Panoche

               challenged in this case is not possible. See ECF No. 52.2 at ¶ 3; ECF No. 50.1 at ¶

               3, Ex. A. In its ruling on the merits, the Court observed that, “[i]f, after negotiating

               with the neighboring landowner, Panoche is unable to secure access to the necessary

               land, the permit allows Panoche to request changes to the monitoring condition.”

               ECF No. 45.1 at 4 (citing 40 C.F.R. § 144.39(a)(2)). Panoche met twice with EPA

               in August of 2024 to discuss an alternative monitoring condition. See ECF No. 50.1


               1
                Panoche also moved to recall the mandate, as the mandate had issued prior to the deadline for a
               motion to stay the mandate. See ECF No. 49.1 at 12-13. The Court recalled the mandate on
               August 16, 2024, ECF No. 51.1, so that portion of Panoche’s motion is moot.

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               at ¶ 5; Second Declaration of Warren MacGillivary filed herewith (“Second

               MacGillivary Decl.”), at ¶ 7. At the most recent meeting on August 29, 2024,

               Panoche submitted a written proposal, which EPA is now in the process of

               reviewing. See Second MacGillivary Decl. at ¶ 7. Discussions between the parties

               to identify an alternative condition are thus proceeding apace.

                        The assertions in EPA’s brief that Panoche merely seeks to delay compliance,

               ECF No. 52.1 at 5, 10-11, are thus without merit. 2 Staying the mandate would have

               no effect on compliance with the condition in Panoche’s permit because compliance

               is not possible.      The impossibility of compliance with the permit condition

               demonstrates that the motion to stay the mandate is not being made merely for the

               purposes of delay.

                        Even though EPA agrees that compliance is not possible, EPA declined

               Panoche’s request to stay the monitoring condition while the parties discuss an

               alternative. See ECF No. 50.1 at 15 (“We are not granting an administrative stay of

               the monitoring well condition.”). The permit states that non-compliance with its



               2
                 Two other assertions in EPA’s brief are also without merit. EPA’s brief wrongly asserts that
               Panoche “has not disclosed the full story” about site access, ECF No. 52.1 at 10. EPA contends
               that the landowner was open to the idea of re-entering and re-plugging the Silver Creek No. 18
               well. Id. That was not something required by Panoche’s permit or that the landowner discussed
               with Panoche. See Second MacGillivray Decl. at ¶ 4. EPA’s brief also wrongly asserts that
               Panoche “waited until after this Court’s ruling to finally contact the owner of the property on
               which Silver Creek #18 is located.” ECF No. 52.1 at 9. Panoche previously reached out to the
               landowner in 2023, but he did not provide an answer about site access at that time. See Second
               MacGillivray Decl. at ¶ 5; see also ECF No. 5.5 at ¶¶ 34-35.

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               terms could subject Panoche to an enforcement action, including revocation of the

               permit. See AR 1-ER-0076. Panoche cannot operate without this permit. See ECF

               No. 5.5 at ¶ 36 (“The Facility cannot operate without a way to dispose of its

               wastewater and Panoche would not operate the Facility out of compliance with its

               Permit.”). Thus, Panoche faces an existential threat from a possible enforcement

               action that EPA has not disavowed.

                        In these circumstances, Panoche has no alternative but to exhaust its appellate

               options. Good cause therefore exists to stay the mandate so Panoche can seek further

               judicial review of the condition at issue without threat of an intervening enforcement

               action that would render moot such further review.

                        B.    A Petition for Certiorari Would Present a Substantial Question
                        Panoche explained in its motion that a petition for certiorari would also

               “present a substantial question.” Fed. R. App. P. 41(d)(1). See ECF No. 49.1 at 10-

               12. In response, EPA grafts the requirements for a certiorari petition under S. Ct. R.

               10 onto the requirements to stay the mandate under Fed. R. App. P. 41(d)(1). ECF

               No. 52.1 at 7-8. But that approach conflicts with this Court’s “general practice of

               granting a motion for a stay if the arguments presented therein are not frivolous.”

               Epic Games, Inc. v. Apple, Inc., 73 F.4th 785 (9th Cir. 2023) (M. Smith, J., in

               concurrence), citing United States v. Pete, 525 F.3d 844, 850 (9th Cir. 2008) (it is

               “often the case” that the Court stays the mandate while a party seeks certiorari).


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                        EPA does not address the Court’s general practice, nor does EPA contend that

               Panoche’s arguments are “frivolous.” The Court should therefore follow its general

               practice here and grant a temporary stay of the mandate to permit Panoche to pursue

               further review.

                        Panoche has consistently maintained that EPA’s actions in this case exceed

               the scope of its authority under the Safe Drinking Water Act, 42 U.S.C. §§ 300h,

               300h-5. Panoche contends those statues do not provide authority for EPA to force

               Panoche to drill a monitoring well without regard to the costs, the relative value of

               the information obtained, Panoche’s ability to comply with the condition, and other

               site-specific factors that undercut EPA’s decision. See, e.g., ECF Nos. 19.1 at 22-

               49; 36.1 at 3-25; 46.1.

                        The position EPA took in this case—that the Act does not require EPA “to

               consider the costs to [Panoche] of installing a monitoring well near Silver Creek #

               18,” ECF No. 27.1 at 47—is similar to the position EPA took in Michigan v. EPA,

               and that the Supreme Court struck down. 576 U.S. 743, 752-53 (2015) (rejecting

               EPA’s contention that costs are not relevant because agencies “have long treated

               cost as a centrally relevant factor when deciding whether to regulate,” and

               “reasonable regulation ordinarily requires paying attention to the advantages and the

               disadvantages of agency decisions”). This case therefore presents substantial federal

               questions about the scope of EPA’s regulatory authority under the Safe Drinking


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               Water Act, the factual basis required for EPA to impose permit conditions, and the

               extent to which EPA must grapple with factual circumstances that undercut its

               permitting decisions.

               III.     CONCLUSION

                        Panoche respectfully asks the Court to stay its mandate so that Panoche can

               exhaust its appellate options without threat of an enforcement action from EPA that

               could render moot further judicial review.

                        DATED this 3rd day of September, 2024.

                                                           Respectfully submitted,

                                                           K&L GATES LLP

                                                           By: s/ J. Timothy Hobbs
                                                           Ankur K. Tohan, WSBA No. 36752
                                                           J. Timothy Hobbs, WSBA No. 42665
                                                           925 Fourth Avenue, Suite 2900
                                                           Seattle, WA 98104-1158
                                                           Tel: 206-623-7580
                                                           ankur.tohan@klgates.com
                                                           tim.hobbs@klgates.com

                                                           Attorneys for Petitioner Panoche Energy
                                                           Center, LLC




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                                        CERTIFICATE OF SERVICE

                     I hereby certify that on September 3, 2024, I arranged for the foregoing
               document to be electronically filed with the Clerk of the Court for the United States
               Court of Appeals for the Ninth Circuit by using the appellate CM/ECF system.

                     Participants in the case who are registered CM/ECF users will be served by
               the appellate CM/ECF system.



               Signature:
                            Dara A. Cancel
                            501 Commerce Street, Suite 1500,
                            Nashville, TN 37203
                            Tel: 615-514-1816
                            Dara.Cancel@klgates.com




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